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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS




Thomas Michel, an Individual, and
Stephane Verdier, an Individual,

               Plaintiffs,

   v.                                            Case No.

Marcin Chojnacki, an Individual, Laurena         Judge:
Mikosz, an Individual, Kathleen Long, an
Individual, Rachel Irwin, an Individual, Page    Magistrate:
Street Properties LLC, an Illinois Limited
Liability Company, TCF National Holdings,
Inc., a Delaware Corporation, Anand Sheth, an
Individual, Kendall Murphy, an Individual,
Fairview Avenue Properties LLC, an Illinois
Limited Liability Company, Mon Ami TCF
LLC, an Illinois Limited Liability Company,
EJ Investment Group, Inc., a Delaware
Corporation, Chase Real Estate, LLC, an
Illinois Limited Liability Company, Midwest
Title And Closing Services LLC an Illinois
Limited Liability Company, Mainstreet
Property Management LLC, an Illinois
Limited Liability Company, Citypoint Illinois
LLC, an Illinois Limited Liability Company,

              Defendants.
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                                          COMPLAINT

       NOW COME the Plaintiffs Thomas Michel and Stephane Verdier, by and through their

attorneys, Gaspero & Gaspero, Attorneys at Law, P.C., and in complaining against Marcin

Chojnacki, Laurena Mikosz, Kathleen Long, Rachel Irwin, Page Street Properties LLC, an

Illinois Limited Liability Company, TCF National Holdings, Inc., a Delaware Corporation,

Anand Sheth, Kendall Murphy, Fairview Avenue Properties LLC, an Illinois Limited Liability

Company, Mon Ami TCF LLC, an Illinois Limited Liability Company, EJ Investment Group,

Inc., a Delaware Corporation, Chase Real Estate, LLC, an Illinois Limited Liability Company,

Midwest Title and Closing Services LLC, an Illinois Limited Liability Company, Mainstreet

Property Management LLC, an Illinois Limited Liability Company, Citypoint Illinois LLC, an

Illinois Limited Liability Company, allege as follows:


                                         JURISDICTION

       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 in

that the Plaintiff asserts claims arising under the Racketeer Influenced and Corrupt Organizations

Act 18, U.S.C. § 1962.

       This Court has jurisdiction over this action pursuant to 28 U.S. Code § 1332(a)(1)

whereas the Plaintiffs is a citizen of the State of California, and the Defendants are citizens of

Illinois and Delaware. The amount in controversy, exclusive of costs, exceeds $75,000.

       This Court has supplemental jurisdiction over the Plaintiff’s state law claims, pursuant to

28 U.S. § 1367.




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                                              VENUE

        Venue is proper in this District pursuant 18 U.S.C. § 1965 and 28 U.S. Code §

1391(c)(2), whereas multiple Defendants are residents of Illinois and the real estate at issue is

located in Northern Illinois.

        Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391

because Defendants are subject to personal jurisdiction in this judicial district and reside in this

district.

                                              PARTIES

        1.       Plaintiff Thomas Michel (“Michel”), an individual, is a French National and

Texas citizen.

        2.       Plaintiff Stephane Verdier (“Verdier”), an individual, is a French National and

California citizen.

        3.       Defendant Marcin Chojnacki (“Chojnacki”), an individual, is an Illinois licensed

real estate broker and an Illinois citizen.

        4.       Defendant Laurena Mikosz (“Mikosz”), an individual, is an Illinois licensed real

estate broker and an Illinois citizen.

        5.       Defendant Kathleen Long (“Long”), an individual, is an Illinois citizen and, on

information and belief, was, at all times relevant herein, the paramour and roommate of

Chojnacki.

        6.       Defendant EJ Investment Group Inc. (“EJ Investment”) is a Delaware Corporation

and is a citizen of Delaware and Illinois.

        7.       Defendant Mainstreet Property Management LLC (“Mainstreet Management”) is

an Illinois Limited Liability Company managed by EJ Investment Group. All of Mainstreet


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Management’s members are citizens of Illinois, therefore Mainstreet Management is an Illinois

citizen.

           8.    Defendant Page Street Properties LLC (“Page Street Properties”) is an Illinois

Limited Liability Company managed by Defendant TCF National Holdings, Inc. Page Street

Properties is a citizen of Illinois in that all of the members of Page Street Properties are citizens

of Illinois.

           9.    Defendant TCF National Holdings, Inc. is a Delaware Corporation. Kathleen

Long, an Illinois resident, is the President of TCF National Holdings, Inc. and its principal place

of business is in Illinois. TCF National Holding is a citizen of Illinois and Delaware.

           10.   Defendant Anand Sheth (“Sheth”), an individual, is an Illinois resident.

           11.   Defendant Kendall Murphy (“Murphy”), an individual, is an Illinois resident.

           12.   Defendant Fairview Avenue Properties LLC is an Illinois Limited Liability

Company, solely owned and managed by Defendant Mon Ami TCF LLC., an Illinois Limited

Liability Company. All of Fairview Avenue Properties LLC’s members are all citizens of

Illinois and Fairview Avenue Properties LLC is an Illinois citizen.

           13.   Defendant Mon Ami TCF LLC is an Illinois LLC managed by Defendant Long

and Defendant Sheth. All of Mon Ami TCF LLC’s members are all citizens of Illinois and Mon

Ami TCF LLC is an Illinois citizen.

           14.   Defendant Chase Real Estate LLC (“Chase Real Estate”) is an Illinois LLC. All

of Chase Real Estate’s members are citizens of Illinois, Chase Real Estate is an Illinois citizen.

           15.   Defendant Midwest Title and Closing Services LLC (“Midwest Title”) is an

Illinois Limited Liability Company. All of Midwest Title’s members are all citizens of Illinois

and Midwest Title is an Illinois citizen.



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        16.     Midwest Title is managed by XYZABC, Inc., a Delaware Corporation. Defendant

Rachel Irwin is the President and Director of XYZABC, Inc. Defendant Midwest Title provides

real estate transaction services and serves as the registered agent of Defendants Page Street

Properties LLC and TCF National Holdings, Inc.

        17.     Defendant Rachel Irwin (“Irwin”), an individual, is an Illinois citizen and an

attorney licensed to practice law in the State of Illinois. Irwin is also the General Counsel and

Illinois registered agent of Defendants EJ Investment and Mainstreet Management.

        18.     Defendant Citypoint Illinois LLC (“Citypoint Illinois”) is an Illinois Limited

Liability Company. All of Citypoint Illinois’s members are all citizens of Illinois and thus

Citypoint Illinois is an Illinois citizen.

        19.     Citipoint Properties appears to have been an un-incorporated enterprise organized

by Chojnacki which held itself out as a real estate investment company for the purposes of

inducing and capitalizing from out-of-state investors in connection with Illinois real estate. On

December 28, 2022 this un-incorporated enterprise organized itself as “Citypoint Illinois LLC,”

an Illinois Limited Liability Company managed by “Citypoint Group Inc.,” a Delaware

Corporation also organized on December 28, 2022. The allegations set forth herein cover time

periods when this enterprise was both un-incorporated and incorporated.

        20.     Defendants Irwin, Chojnacki, Mikosz, Mainstreet Management, and EJ

Investment Group all operate out of the same office space located at 25-41 E. Main Street Suite

204, Roselle, IL 60172.

        21.     Defendant TCF National Holdings (Manager of Page Street Properties LLC) and

Citypoint Group Inc., the manager of the newly formed Citypoint Illinois LLC, are all located at

8 The Green Street, Dover, Delaware, 19901.



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                        ALLEGATIONS COMMON TO ALL COUNTS

        22.     Plaintiff, Michel, a French National, resides in Texas and was looking to use his

savings to invest in real estate to provide a solid investment and steady source of income.

        23.     Plaintiff, Verdier, is also a French National, who resides in California and was

also interested in putting his savings to work by investing in real estate.

        24.     Both Plaintiffs Michel and Verdier are close friends and decided to invest

together. For the most part, Plaintiff Michel took the lead in communicating with the Defendants

for the events giving rise to this matter.

        25.     Beginning on December 29, 2021, Defendant Page Street Properties LLC (“Page

Street”) was the owner of real estate commonly known as 12930 Page Court, Blue Island, Illinois

(the “Page Court Property”).

        26.     Beginning on December 21, 2021, Defendant Fairview Avenue Properties LLC

was the owner of the real estate commonly known as 12438 Fairview Avenue, Blue Island,

Illinois (the “Fairview Property”).

        27.     This matter pertains to both the Page Court Property and the Fairview Property.

        28.     In approximately July 2021, Michel learned of “CitiPoint Properties” which

identified itself as a source for connecting investors to undervalued and underperforming

properties – carrying the promise of rapidly increasing equity and high cash flow.

        29.     This alleged connection between the target investor and the alleged owner of “off-

market” properties was referred to as an offering of “directly sourced” properties.

        30.     Michel sent a query to Mikosz regarding “Citipoint”.

        31.     Plaintiff Michel’s query to Mikosz evolved into sustained text and phone

interactions through which Mikosz drew Michel into the scheme giving rise to this action.


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          32.   Mikosz told Michel that she was a real estate broker with Chase Real Estate,

which is affiliated with “Citipoint.” Mikosz told Michel that her managing broker was

Chojnacki, also a Chase Real Estate agent.

          33.   Mikosz and Chojnacki actively led Plaintiff to believe that since they were agents

of Chase Real Estate, and because “Citipoint” is affiliated with Chase Real Estate, that the

transactions would be safely negotiated and consummated under the auspices of Chase Real

Estate.

          34.   At all times relevant herein, the website for CitiPoint was a virtual reflection of

the website for Chase Real Estate (See printed copy of the CitiPoint website as of January 27,

2023 attached as Exhibit 1 and the Chase Real Estate Website at Exhibit 2 as February 24, 2023).

Both websites are commonly revised. Prior to the revisions and at the times relevant to the facts

alleged herein, the websites were of the same design motif and were nearly identical to each

other.

          35.   Mikosz told Michel that he would be purchasing buildings that were under-

performing directly from the local landlord.

          36.   Mikosz further told Michel that if Michel used Mikosz as his real estate broker

through Chase and bought properties at a steep discount from the current landlords, and then had

Chojnacki’s Mainstreet Management professionally manage the property, there would be great

cash flow and equity appreciation.

          37.   The false promise that the property was owned and self-managed by a local,

unprofessional landlord allowed Mikosz to foster the proposition that 1) the property could be

acquired from the local individual at a bargain price and 2) once the property was managed




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properly (with the help of Chojnacki’s affiliate property management company, Mainstreet

Management), the investor (Michel) could expect substantial cash flow.

       38.     Thereafter, Mikosz began sending Michel links to a Citipoint website for different

properties for his review.

                                        I. The Fairview Property

       39.     Mikosz directed Michel to a link for a Citipoint website for the Fairview property

styled “Property Financials.” The Property Financials were compiled and reported by Citipoint.

       40.     The Property Financials reported current positive cash flow for the Fairview

Property with the property currently 100% rented. The Property Financials also promised even

higher cash flow once properly managed by the new investor using Chojnacki’s property

management company (Mainstreet Management). The Property Financials for the Fairview

property are attached as Group Exhibit 3.

       41.     Citipoint’s Property Financials report that the premises for the financials are

“factual” and are based on “verified information.” See page one of Group Exhibit 3

       42.     Citipoint’s Property Financials tells the investor that “Today's Market Value” is

$472,000. See page two of Group Exhibit 3.

       43.     The Property Financials report included a “Rent Roll” telling the investor that the

property is fully leased by tenants all current with the minor exception of a $400 balance on one

of the six units. See page three of Group Exhibit 3.

       44.     Mikosz represented that the Fairview Property was “turnkey” and would be

profitable at the “bargain” purchase price of $450,000. (See e-mail attached at Exhibit 4).




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       45.     Michel told Mikosz that he wanted to fly to Illinois to see the Fairview property.

He gave Mikosz two weeks notice so that she could be sure to arrange for full access to the

building.

       46.     Despite giving Mikosz plenty of notice, when Michel arrived in Illinois, he was

told by Mikosz that, unfortunately, he would not be permitted to see the inside of the units, and

could only see the outside of the building and the common areas.

       47.     When Michel insisted, Mikosz explained that they were not permitted to have

access to the units in Illinois because it was not customary and would “bother the tenants.”

       48.     Mikosz told Michel that it was the normal course of business in Illinois for him to

view the outside of the buildings and not see the inside of the units when they were occupied by

tenants.

       49.     Mikosz further reassured Michel as his real estate broker that she was certain that

the units were in good condition. She also reminded Michel that the Fairview property was

“turnkey” and was fully rented with tenants who were paying on time. She reminded Michel, as

his real estate broker, that based upon the rent roll she provided him, the property indeed would

be profitable for the “bargain” purchase price of $450,000.00.

       50.     Michel believed and relied upon Mikosz’s representations as his real estate

broker. Thus, believing Mikosz representations, Michel entered into a contract to purchase the

Fairview Property on September 28, 2021. (See Fairview Property Contract attached as Exhibit

5).

       51.     The actual reason that Mikosz could not give access to the Fairview property to

Michel was because she and her Citipoint affiliates were actively and clandestinely engaged in

their own undisclosed purchase of the property for $300,000 in order to then immediately sell it



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to Plaintiffs at the grossly inflated price of $450,000. Michel’s presence in Chicago was thus a

threat to the Defendants and the secrecy of that undisclosed acquisition.

          52.   Contrary to her representations, Mikosz had actual knowledge that Michel’s

purchase price of $450,000 was not a “bargain.”

          53.   Contrary to her representations, Mikosz had actual knowledge that Michel’s

counterparty in the Fairview property transaction would not be a local landlord, but instead,

Mikosz’s Citipoint affiliates.

          54.   At the time that the said Defendants were attempting to induce Michel into the

scheme, they had already contracted to buy the Fairview Property themselves for $150,000 less

($300,000) than what they would soon deceive Michel into paying for it ($450,000).


                                  II. The Page Court Property1

          55.   Mikosz then showed Michel a link for a Citipoint website for the Page Court

Property similarly containing “Property Financials” for this property. The Property Financials

showed current positive cash flow for the Page Court Property with the property currently 100%

rented.

          56.   The Citipoint Property Financials also promised even higher cash flow once

properly managed by the new investor using Chojnacki’s property management company

(Mainstreet Management). The Property Financials for the Page Court Property are attached as

Group Exhibit 4.




1.       Simultaneously with the Fairview Property scheme, Mikosz had invited Plaintiffs to discuss a
property in Waukegan, Illinois. That transaction commenced but was cancelled by Michel and replaced
with this Page Court Property. At present, the Waukegan transaction is not part of this proceeding.
However, exhibits and correspondence between the parties sometimes refer to the aborted Waukegan
transaction.


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         57.    The Citipoint Property Financials report that the premises for the financials are

“factual” and are based on “verified information.” See page one of Group Exhibit 6

         58.    The Citipoint Property Financials tell the investor that “Today's Market Value” is

$525,000. See page two of Group Exhibit 4.

         59.    The Property Financials report included a “rent roll” telling the investor that the

property is fully leased by tenants all current in their monthly payments. See page three of Group

Exhibit 4.

         60.    Mikosz told Michel that, while the Page Court Property was a little more

expensive than the Fairview property, she loved the Page Court Property and that it was a “great

deal.”

         61.    As with Fairview, Mikosz again represented to Michel that the Page Court

Property was in good condition and fully leased with renters who were current in their rent.

Mikosz represented that the Page Court Property would be profitable at the “bargain” purchase

price of $525,000.

         62.    Contrary to her representations, Mikosz had actual knowledge that Michel’s

counterparty in the transaction would not be a local landlord.

         63.    Contrary to her representations, Mikosz had actual knowledge that the Page Court

Property was not a bargain at a purchase price of $525,000.

         64.    In fact, at the time that the said Defendants were attempting to induce Plaintiff

into the scheme, they had already contracted to covertly buy the Page Court Property themselves

for $380,000.

         65.    Mikosz did not disclose to Michel that Defendants were purchasing the property

for $145,000 less than what they would soon deceive Michel into paying for it.



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       66.     Believing Mikosz’s misrepresentations regarding the Page Court Property, Michel

and Verdier entered into a contract to purchase the Page Court Property on October 23, 2021.

(See Page Court Property Contract attached as Exhibit 7).


             III. Fraudulent Actions and Statements Common to Both Properties

       67.     Defendants continued to deceive Plaintiffs through both transactions.

       68.     Initially, Michel attempted to obtain financing through his own lender.

       69.     As part of the financing process, Michel’s lender sent Mikosz an email:

                   We are looking for copies of last three years tax
                   returns for each property to assist with our
                   underwriting process. Would you have access to
                   these? Please let me know if you have any questions.

                   See Email (Page 8 of 10) at Exhibit 8.

       70.     Mikosz forwarded the lender’s email to Defendant Irwin:

                   Rachel see below. Can you provide? Lori

                   See Email (Page 8 of 10) at Exhibit 8

       71.     Defendant Irwin responded to Mikosz and Michel’s lender as follows:

                   Good evening Lori and Ron: The seller cannot
                   provide. Hopefully you can proceed without them.
                   Thank you.

                   Rachel Irwin, Director, Midwest Title and Closing
                   Services, LLC

                   See Email (Page 7 of 10) at Exhibit 8.

       72.     When Michel advised his lender that the requested financial information was not

available, Michel’s lender responded as follows:

                   Hi Thomas – This seems rather unusual that the seller
                   won’t provide any historical information. We need
                   such information for appraisal purposes and for our
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                    internal cash flow analysis. How were you able to
                    determine the viability of these properties?

                    Thanks RON

                    See Email (Page 7 of 10) at Exhibit 8

       73.     When Michel told Mikosz his lender’s response, Mikosz emailed the lender:

                    Ron,

                    What else can be used instead of tax returns? Give me
                    another option to work with seller.

                    Those guys are super old on paperwork but will try
                    my best. I have all the valuations regarding the deal...

                    Let me know if that's what you need.
                    Lori

                    See Email (Page 7 of 10) at Exhibit 8.

       74.     Michel believed Mikosz’s statements because Mikosz told Michel repeatedly that

the sellers in both transactions were local landlords who were retiring.

       75.     However, contrary to her representations, at the time Mikosz made the above

statements, she knew that the ultimate “seller” in the transaction were not “guys” who were

“super old on paperwork” but instead were the Defendants. Mikosz knew her representations

were untrue.

       76.     Mikosz and Irwin were not able to get tax returns or other financial information

from the sellers to Michel’s lender because Defendants had surreptitiously contracted to purchase

both the Page and Fairview properties for themselves and then sell them immediately to Michel

for a grossly inflated price, all undisclosed to Michel.




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       77.     Defendants made the acquisition for both the Page and Fairview properties even

while Mikosz had knowingly convinced and deceived Michel that she, and Chase Real Estate,

were his agents and were acting on his behalf and in his interests.

       78.     Mikosz ultimately directed Michel away from his own lender and recommended

her affiliated lender to get the deal done as Mikosz’s lender was able to rely solely on the

Citipoint Financials Mikosz provided for the subject properties, and not require tax returns or

other financial information. (See Email attached as Exhibit 9).

       79.     At the time Mikosz directed Michel to her lender, Mikosz referred to Michel as

one of her “great clients.” (See Email at Exhibit 10).

       80.     Mikosz’s reference to Michel as her “great client” reinforced his belief that she

was his agent and broker acting on his behalf.

       81.     Plaintiffs believed Mikosz and proceeded with the transaction because Mikosz

repeatedly told Michel that the transactions were being handled safely through Chase Real Estate

as their broker.

       82.     Accordingly, Mikosz continued to describe herself to Michel as Plaintiffs’ real

estate agent and representative in the Page and Fairview Property transactions. However,

Mikosz actually was employed by and/or was an agent of Defendants.

       83.     Defendants made further misrepresentations during the transactions for both

properties.

       84.     For example, during the final loan processing, the lender was concerned why the

owner on a title report was different than that specified earlier on the PSA (Purchase Sale

Agreement).




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       85.     Lenders in property purchases always review title reports to confirm, at a

minimum, that their borrower is receiving the property from the correct party on title.

       86.     On the Page Court Property, Michel’s lender sent an email to Defendants Lori

Mikosz and Rachel Irwin:

                   Sent: Wednesday, February 9, 2022 10:23 AM
                   Subject: Re: FINAL PROCESSING-Investment
                   Property Loan Exchange

                   Lori/Rachel [Defendants Mikosz and Irwin],

                   Please provide an explanation as to why the seller on
                   the PSA is not the same as the Owner of Record.
                   Thank you!

                   See Email attached as Exhibit 11.

       87.     Defendant Irwin responded:

                   On 2022-02-09 10:24, Rachel Irwin wrote:

                   Krystal: I'm confused. The seller on the contract
                   shows "OOR" which means owner of record. Owner
                   of record is Page Street Properties LLC... my client.

                   Sincerely,
                   Rachel Irwin
                   Director of Midwest Title and Closing Services LLC

                   (See Email attached as Exhibit 11).

       88.     The “Owner of Record” at the time of the Purchase Sale Agreement of October

23, 2021 was not Page Street Properties LLC, as asserted by Irwin. It was L&M Buildings LLC-

1, the “long-time owner” and “local landlord.”

       89.     Page Street Properties was not the Owner of Record until they purchased it on or

about December 29, 2021, over two months after the Purchase Sale Contract to Plaintiffs.



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       90.     Irwin’s misleading response was an effort to keep the lender from discovering and

revealing the Defendant’s “switcharoo” scheme wherein the Defendants needed the transfer

between the long-time owner/local landlord and themselves to remain hidden.

       91.     Defendant Irwin knew this was true because as attorney for the seller, she had

control over the ordering and the timing of the title reports for both transactions.


                       III. The Real Estate Closings for Both Properties

       92.     On January 19, 2022, Michel (through his LLC) closed on the Fairview Property.

The purchase price was $450,000.

       93.     Contrary to the representations of Defendants, seller was not an “old” landlord but

was an entity owned and controlled by Long (Chojnacki’s paramour and cohabitant) and Sheth.

       94.     Defendants acquired it for themselves from the true long-time owner for

$300,000.00.

       95.     Defendant Chase Real Estate, LLC received a $13,500.00 commission at the

closing as Listing Agent.

       96.     Defendant Midwest Title (owned and or controlled by Irwin) received a payment

of $750.00 as a “Closing Coordination fee.”

       97.     On February 11, 2022, Michel and Verdier (through their LLC) closed on the

Page Street Contract, at which time the Plaintiff acquired title to the Page Court Property. The

purchase price was $525,000.

       98.     Defendant Page Street Properties LLC (owned and/or controlled by Defendant

Long, Chojnacki’s then - paramour and roommate) purchased the Page Court Property on

December 29, 2021 - less than two months prior. Seller was not an old retiring landlord,

contrary to the representations of Defendant Mikosz.

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       99.      The purchase price Defendant Page Street Properties LLC paid for the Property

was $380,000.

       100.     Defendant Chase Real Estate, LLC received an $18,375.00 commission at the

closing as Listing Agent.

       101.     Defendant Midwest Title (owned and or controlled by Irwin) received a payment

of $750.00 as a “Closing Coordination fee.”

       102.     Mikosz, Chojnacki and Chase Real Estate at all times held themselves out to be

agents of and acting on behalf of Plaintiffs.

       103.     At no time did Defendants disclose any conflict of interest.

       104.     At all times herein, Defendant Irwin was acting as an agent of Defendant Midwest

Title and of Fairview Avenue Properties LLC and Page Street Properties LLC.

       105.     Midwest Title through its agent Irwin plays a significant role in the transactions

by providing registered agent services to the various puppet entities, housing various legal

operations appurtenant to the entities and transactions, as well as charging the Plaintiff for some

unspecified services described in the closing statement as “Closing Coordination Fee.”

       106.     As stated above, Defendants Irwin, Chojnacki, Mikosz, Midwest Title, EJ

Investment Group and Mainstreet Management are all located at and operate out of the same

office space.

       107.     Defendants Chojnacki, Long and Mikosz made misrepresentations to Michel to

induce him to consummate the subject transactions.

       108.     Defendants did not disclose that they had a conflict of interest in that they were an

owner and/or controller of the Fairview Property and that Chojnacki’s paramour and roommate

Long was the owner and/or controller of the Page Court Property.



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       109.    Defendants Mainstreet Management, acting through Defendant Chojnacki and

Defendants Page Street Properties LLC and Fairview Avenue Properties LLC fraudulently

misrepresented the condition of the properties to Plaintiffs.


                                     IV. The Rent Roll Fraud

       110.    Contrary to the representations of Defendants, Michel learned that many of his

units in the Fairview Property were either vacant, severely delinquent, or uninhabitable.

       111.    Commencing immediately after the closing of the first property, the Plaintiffs

were unable to collect rents on four of the six units.

       112.    Part of the Defendant’s scheme was to convince the Plaintiffs to use Mainstreet

Management to manage the property and collect rents.

       113.    Immediately upon taking title to both properties, Plaintiffs learned that the

information provided in the Rent Rolls was not accurate. In the case of the Fairview Property,

four of the six units were in some form of distress because no rents were received for those units.

       114.    Plaintiffs have no way of knowing whether the units were occupied and failing to

pay or whether they were not occupied at all and the vacancy was concealed by the Defendants.

       115.    In any event, Plaintiffs have never received current and full payment on all units

since the time of purchase until the present. Due to the numerous tenants not paying rent, it is

necessary to proceed with numerous eviction proceedings for the subject properties.


                      V. Property Conditions and Code Violations Fraud

       116.    Contrary to the representations of Defendants, Plaintiffs learned that the

Defendants did not comply with the Blue Island inspection and real estate transfer requirements

as required by Blue Island Ordinances. The City of Blue Island had been directing building code


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violations at the Defendants prior to the transaction, as well as placing a transfer restriction on

the Page Deed. (See Exhibits 12-16).

        117.     While all the while Defendant Mikosz was assuring the Plaintiffs that the

properties were in great condition and required no repairs.

        118.     Defendants’ misrepresentations as to violations and failure to comply with Blue

Island real estate transfer inspection and approval requirements resulted in fines and/or citations

to Plaintiffs.

        119.     Despite the properties being noncompliant with Blue Island ordinances, and

despite both properties having vacancies and uninhabitable units, Defendants, through their

property management company Mainstreet, have charged Plaintiffs for enormous and repeating

unidentified charges, and have withheld and/or otherwise refused to have any tenant funds

received by them turned over to Plaintiffs.

        120.     Defendants have attempted to induce Michel to repeat the scam with additional

properties.

        121.     Defendants have treated other individuals or entities in the same illegal manner

alleged by Michel. There are eight known specific additional individuals and/or entities who

were similarly defrauded by precisely or nearly precisely the same pattern of artifices and

fraudulent misrepresentations as set forth in this Complaint.

        122.     The Defendants are, at present, continuing to lure investors into the enterprise

using the same scheme and under the same guises as those set forth herein. Accordingly, the

conduct alleged herein constitutes the Defendants’ regular method of conducting their business.




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   COUNT I: RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT
                      (RICO) - 18 U.S.C. 1962(c), (d)

                  (Defendants Chojnacki, Mikosz, Page Street Properties LLC,

                    Fairview Avenue Properties LLC, Citypoint Illinois, LLC)

          Plaintiff Michel re-states and re-alleges Paragraphs 1 through 122 as though fully stated

herein.


                                           RICO Persons

          123.   Defendants Chojnacki, Mikosz, Page Street Properties LLC, Fairview Avenue

Properties LLC, Citypoint Illinois, LLC, are each capable of holding a legal or beneficial interest

in property, and therefore each is a “person” within the meaning of 18 U.S.C. § 1961(3).


                                        The Rico Enterprise

          124.   Defendants Chojnacki, Mikosz, Page Street Properties LLC, Fairview Avenue

Properties LLC, and Citypoint Illinois, LLC, were associated in fact, and constituted an

“enterprise” as that term is defined in Title 18, United States Code, Section 1961(4), which

enterprise was engaged in, and the activities of which affected, interstate commerce. This

enterprise shall be referred to herein as the “CitiPoint Enterprise.”

          125.   The CitiPoint Enterprise constituted an ongoing organization whose members

functioned as a continuing unit for a common purpose of achieving the objectives of the

enterprise.

          126.   The primary purpose of the CitiPoint Enterprise was to lure and then fleece

unsuspecting real estate investors for the financial benefit of CitiPoint.

          127.   For the purpose of 18 U.S.C. § 1962(c), and during the periods relevant to this

complaint, said Defendants each had authority within the CitiPoint Enterprise, and/or conducted



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or participated, directly or indirectly, in the conduct of the CitiPoint Enterprise’s affairs through

the pattern of racketeering activity described herein.


                                 Effect on Interstate Commerce

       128.    The CitiPoint Enterprise conducted its racketeering activity, in part, using the

interstate mails and wire communications, including by use of the telephones, by electronic

transfers of funds, and through the mailing of checks.


                             Predicate Acts of Racketeering Activity

       129.    Through the CitiPoint Enterprise, or in conspiracy with it, the Defendants

conducted, engaged in, and participated in a pattern of racketeering activity, consisting, at a

minimum, of the following predicate acts: (a) multiple violations of Title 18, United State Code,

Sections § 1341, 1343, and 1346 (mail fraud and wire fraud). The scheme to defraud was

advanced, concealed or furthered by the use of the U.S. mail or wires.

       130.    Specifically, the Defendants’ predicate acts include, but are not limited to, the

following:

               a) In furtherance of a scheme or artifice to defraud as defined in 18
                  U.S.C. §§ 1341 & 1346, and with specific intent to defraud,
                  Defendants placed ads on the Internet and on social media with the
                  intent to induce investors to participate in “directly sourced” real estate
                  opportunities when they actually intended to sell the duped investor
                  their own significantly marked-up property.
               b) Engaging in a sustained fiction with the victim, replete with
                  misrepresentations and calculated omissions to keep the investor
                  misled that their transactional counterparty was an “old retiring
                  couple” selling the property directly to the investor at bargain level
                  pricing.
               c) Fabricating occupancy records of the property to mislead the investor
                  with the falsehood that that property was fully-leased and the tenant
                  payments were fully current.



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               d) Concealing and misrepresenting known significant building code and
                  occupancy violations from the investor with the intent of inducing the
                  investor to enter into the transaction.
               e) Engaging in post-closing fraudulent activity in the management of the
                  property by 1) continued concealment of and falsification of rent
                  records; 2) continued concealment of building occupancy and code
                  violations.


                                Pattern of Racketeering Activity

       131.     The Defendants acted, and conspired to act together, and in association with

others knowingly and repeatedly committed the above fraudulent acts in furtherance of and for

the purpose of enriching themselves financially and to otherwise further the ends of the CitiPoint

Enterprise.

       132.    The predicate acts described above were related to one another as part of a

common scheme or plan.

       133.    Such unlawful conduct constituted a continuous pattern of racketeering activity

beginning as early as July 2021, continue through the present, and are likely to continue into the

foreseeable future.


                                Conspiracy (18 U.S.C. § 1962(d))

 (Defendants Long, Irwin, Midwest Title and Closing Services LLC, EJ Investments, Inc.,
Chase Real Estate, LLC, Mainstreet Property Management, LLC, TCF National Holdings,
                        Inc., Long, Sheth, and Kendall Murphy)

       134.    As described above, Defendants Midwest Title and Closing Services LLC, Irwin,

EJ Investments, Inc., Chase Real Estate, LLC, Sheth, Long, and Murphy did knowingly agree to

facilitate the CitiPoint Enterprise Defendants, and those acting in concert with them, to violate 18

U.S.C. § 1962(c) for the purpose of achieving and profiting from the racketeering activities

described above.


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        135.    In furtherance of that agreement, the Defendants knowingly and intentionally

agreed and conspired to commit at least two of the predicate acts set forth above and they did so

with the knowledge and intent that such acts were in furtherance of the foregoing pattern of

racketeering.

        136.    Specifically, the Defendants described herein were either affiliated or controlled

by the CitiPoint Enterprise Defendants

        137.    The Defendants described herein knowingly provided auxiliary services with

respect to the marketing, negotiation, and transaction of real estate closing services which were

necessary to and facilitated the accomplishment of the goals of the CitiPoint Enterprise.

        138.    Defendant Chase Real Estate LLC provided the cover of a legitimate real estate

brokerage enterprise, oversaw the conduct and behavior of Mikosz and Chojnacki, and received

a commission from Page Street Properties LLC and Fairview Avenue Properties LLC (the

sellers) notwithstanding the fact that at all relevant times herein, they held themselves out as

Plaintiffs’ agent.

        139.    Defendant Irwin is forming at least some of the layers of shell entities, providing

misinformation about the real estate, acting as officers and/or principals for the enterprise’s

entities, and acting as their counsel in the negotiations and transactions wherein the real estate is

conveyed to the investor, or in this matter, acts as counsel for the fictitious “old” local landlord.


                         Injuries to the Plaintiff Business and Property

        140.    As a direct and proximate cause of the described racketeering activities and

violations of 18 U.S.C. § 1962(c), and the described conspiracy in violation of 18 U.S.C. §

1962(d), the Michel has been injured in their business and property. The Defendants’

racketeering activities caused Plaintiffs to collectively invest $975,000 in real estate which the


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Defendants had actual knowledge was worth far less and said racketeering activities directly

resulted and were the proximate cause of the Plaintiffs’ loss of invested funds.

        141.   The Defendants’ racketeering activities further caused Plaintiffs substantial

damages due to the fact that the Properties were either not certified for occupancy and thus un-

rentable due to multiple severe violations of municipal occupancy and code violations that were

known and hidden from Plaintiffs, or requiring significant repairs at a substantial expense to

Plaintiffs.

        142.   The Defendants racketeering activities further caused the Plaintiffs’ substantial

damages due to the fact that numerous tenants in the Properties were not paying rent and eviction

proceedings were necessary.

        143.   These injuries were a foreseeable consequence of the Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(c), and their conspiracy in furtherance of those

racketeering violations, in violation of 18 U.S.C. § 1962(d).

        WHEREFORE, Plaintiffs respectfully request the Court to enter judgment in their favor

and against each of the CitiPoint Enterprise Defendants and their conspirators and order the

following relief:

               (a) All damages proven pursuant to RICO, trebled as permitted by law;

               (b) Punitive damages, attorney fees, and costs as permitted by law; and

               (c) Such other and further relief as the Court may deem just and appropriate.


                            COUNT II: COMMON LAW FRAUD

        144.   Plaintiffs restate Paragraphs 1 through 143 as if fully set forth herein.




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       145.      Defendant Mikosz and Chojnacki’s statements set forth above concerning the

Properties, their ownership, their condition, and their leased status were false statements of

material fact.

       146.      Defendants Mikosz and Chojnacki made the statements with knowledge that they

were false.

       147.      Defendants Mikosz and Chojnacki made the false statements with the intention to

induce Plaintiffs to purchase the Property under falsified premises.

       148.      Plaintiffs reasonably and justifiably relied on the said Defendants’ false

statements.

       149.      Plaintiffs suffered damages due to reliance on the false statements.

       150.      Accordingly, the Defendants’ statements, Plaintiffs’ reliance thereon, and

resulting damages constitute common law fraud.

       WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment in their favor

and against Defendants in an amount in excess of the jurisdictional limit of Seventy-Five

Thousand Dollars ($75,000.00), plus their costs of suit, attorneys’ fees, and such other relief as

this Court deems just and equitable.


COUNT III: VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE
      BUSINESS PRACTICES ACT (ILLINOIS CONSUMER FRAUD ACT)

       151.      Plaintiffs re-state Paragraphs 1 through 150 above as if fully set forth herein.

       152.      Defendants Mikosz and Chojnacki’s statements, including but not limited to their

statements set forth above concerning the properties, their condition, and their leased status were

false statements of material fact and constituted a deceptive act or practice by the said

Defendants.

       153.      Defendants Mikosz and Chojnacki intended that Plaintiffs rely on the deception.

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         154.   The occurrence of the deception was in the course of conduct involving trade and

commerce.

         155.   The deceptions were originated by residents of Illinois, concern Illinois real

estate, and have resulted in violations of Illinois municipal laws. Accordingly, the conduct

alleged herein directly and indirectly affect the State of Illinois.

         156.   The deception was the proximate cause of actual damage to Plaintiffs.

         157.   Accordingly, the conduct of deception perpetrated by Defendants Mikosz and

Chojnacki constitute a violation of the Illinois Consumer Fraud and Deceptive Business Practices

Act.

         WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment in his favor and

against Defendants in an amount in excess of the jurisdictional limit of Seventy-Five Thousand

Dollars ($75,000.00), plus their costs of suit, attorneys’ fees, and such other relief as this Court

deems just and equitable.


       COUNT IV: VIOLATION OF THE ILLINOIS REAL ESTATE LICENSE ACT

         158.   Plaintiffs re-state Paragraphs 1 through 157 above as if fully set forth herein.

         159.   Defendants Mikosz and Chojnacki provided real estate services in this transaction

as agents of Chase Real Estate LLC.

         160.   Defendants Mikosz, Chojnacki and Chase Real Estate LLC were “Licensees”

under the Real Estate License Act, 225 ILCS 454/1-1 et seq.

         161.   Section 15-25 of the Real Estate License Act mandates that:

                        Licensees shall treat all customers honestly and shall not
                        negligently or knowingly give them false information.

         162.   Section 15-5 of the Real Estate License Act specifies that:


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                       This Article 15 may serve as a basis for private rights of
                       action and defenses by sellers, buyers, landlords, tenants,
                       real estate brokers, and real estate salespersons.

       163.    Defendants Mikosz, Chojnacki and Chase Real Estate LLC breached the

requirements of the Real Estate License Act by committing the following actions:

               a) fraudulently misrepresenting that they represented the Plaintiffs as
                  buyer when in actuality they represented, were affiliates of and/or
                  were direct agents of the seller;
               b) fraudulently misstating the condition of the Property;
               c) fraudulently misstating the tenancy of the Property;
               d) fraudulent falsification of the purported rent roll;
               e) fraudulently misrepresenting to the Plaintiffs that the seller in the
                  transaction was a directly sourced, off-market seller when in truth the
                  Seller was comprised of, directly affiliated with or controlled by the
                  Defendants themselves or were agents thereof;

       164.    Plaintiffs relied on Defendants Mikosz, Chojnacki and Chase Real Estate LLC’s

statements and suffered damages therefrom.

       WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment in his favor and

against Defendants in an amount in excess of the jurisdictional limit of Seventy-Five Thousand

Dollars ($75,000.00), plus their costs of suit, attorneys’ fees, and such other relief as this Court

deems just and equitable.


                     COUNT V: NEGLIGENT MISREPRESENTATION

       165.    Plaintiffs re-state Paragraphs 1 through 164 above as if fully set forth herein.

       166.    Defendants Mikosz and Chojnacki’s statements, including but not limited to their

statements set forth above concerning the properties, their condition, and their leased status were

careless and/or false statements of material fact.




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        167.   Defendants Mikosz and Chojnacki made the careless and/or false statements

through carelessness or negligence in ascertaining the truth of the statement by the party making

it.

        168.   Defendants Mikosz and Chojnacki’s false statements were made with intention to

induce Michel to act.

        169.   Plaintiffs’ actions in consummating the transaction were in reliance on the false

statements.

        170.   Plaintiffs’ reliance was the proximate cause of damage to Plaintiffs.

        171.   Defendants Mikosz and Chojnacki’s statements therefore constitute Negligent

Representation.

        WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment in his favor and

against DEFENDANTS in an amount in excess of the jurisdictional limit of Seventy-Five

Thousand Dollars ($75,000.00), plus their costs of suit, attorneys’ fees, and such other relief as

this Court deems just and equitable.

        COUNT VI

                                    UNJUST ENRICHMENT

        172.   Plaintiffs reallege and incorporate by reference herein the allegations of

Paragraphs 1-171 of this Complaint, as if fully set forth herein.

        173.   Defendants did conspire and collude in the undertaking to mislead Plaintiffs into

believing he would be acquiring investment property directly from a long-time seller.

        174.   Plaintiffs believed and relied on Defendants’ scheme of misleading statements

and conduct when they agreed to buy the Properties from Defendants, who had secretly already




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purchased the Properties directly from the long-time seller for $257,000 less than the amount that

they fraudulently induced Plaintiff to pay.

        175.     The Defendants also charged Plaintiffs unnecessary fees and costs without

justification.

        176.     The direct and proximate cause of the Defendants was to deprive the Plaintiffs of

the fair bargain they had promised them.

        177.     As a consequence of receiving and retaining the amounts in excess of $257,000,

the Defendants have unjustly retained a benefit to the Plaintiffs’ detriment, and Defendants’

retention of the benefit violates the fundamental principles of justice, equity, and good

conscience.




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         WHEREFORE, Plaintiffs respectfully request the Court to enter judgment in their

  favor and against each of Defendants and order the following relief:

         a) Payment to the Plaintiffs of the benefit that they received as a
            consequence of their fraudulent misrepresentations being the
            difference between the purchase price of the Property paid by
            Plaintiffs and that paid by themselves or such other amount to be
            proven at trial;
         b) Punitive damages, attorney fees, and costs as permitted by law; and
         c) Such other and further relief as the Court may deem just and
            appropriate.


                                Respectfully Submitted,

                                /s/Carmen Gaspero
                                _________________________________

                                /s/Lisa Gaspero
                                _________________________________
                                Thomas Michel
                                By: His Counsel


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